Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 1 of 40 PageID #:9




               EXHIBIT A
Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 2 of 40 PageID #:10

                                                                         Service of Process
                                                                         Transmittal
                                                                         11/20/2017
                                                                         CT Log Number 532335306
TO:     Lisa Magdaleno
        American Airlines Group Inc.
        4333 Amon Carter Blvd, MD-5675
        Fort Worth, TX 76155-2664

RE:     Process Served in Delaware

FOR:    American Airlines, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  EDWARD KOWALSKI, individually and on behalf of a class of similarly situated
                                  individuals, Pltf. vs. AMERICAN AIRLINES, INC., etc., Dft.
DOCUMENT(S) SERVED:               Summons, Cover Sheet, Complaint
COURT/AGENCY:                     Cook County - Circuit Court, IL
                                  Case # 2017CH15328
NATURE OF ACTION:                 Violation of the Illinois Biometric Information Privacy Act
ON WHOM PROCESS WAS SERVED:       The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:         By Process Server on 11/20/2017 at 13:15
JURISDICTION SERVED :             Delaware
APPEARANCE OR ANSWER DUE:         Within 30 days after service of this Summons, not counting the day of service
ATTORNEY(S) / SENDER(S):          Evan M. Meyers
                                  McGuire Law, P.C.
                                  55 W. Wacker Drive, 9th Fl.
                                  Chicago, IL 60601
                                  312-893-7002
ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1Z0399EX0132039945

                                  Image SOP

                                  Email Notification, Townley Teso townley.teso@aa.com

                                  Email Notification, Lisa Magdaleno lisa.magdaleno@aa.com

SIGNED:                           The Corporation Trust Company
ADDRESS:                          1209 N Orange St
                                  Wilmington, DE 19801-1120
TELEPHONE:                        302-658-7581




                                                                         Page 1 of 1 / MS
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
              Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 3 of 40 PageID #:11


 2120 - Served                                2121 - Served
 2220 - Not Served                            2221 - Not Served
 2320 - Served By Mail                        2321 - Served By Mail
 2420 - Served By Publication                 2421 - Served By Publication
 SUMMONS                                      ALIAS - SUMMONS                                                                            (2/28/11) CCG N001

                                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                 COUNTY DEPARTMENT, CHANCERY                 DIVISION



                                                                                                                  201 7ril
                                                                                                                  T     :747-
                                                                                                         AMERLCAN'AIRLIKS,'INC.
 EDWARD KOWALSKI, individually and on behalf of a class of similarly situated Individuals,                   :              c....on
                                                                  (Name all parties)                     do The Corporation Trust Company
                                    V.
                                                                                                         Corporation Trust Center, 1209 Orange Si, Wilmington, DE 19801

 AMERICAN AIRLINES, INC., Defedant.


                                                ® SUMMONS CAMAS SUMMONS
To each Defendant:

       YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:

               Richard J. Daley Center, 50 W. Washington, Room 802                                        , Chicago, Illinois 60602

               District 2 - Skokie                            District 3 - Rolling Meadows                         District 4 - Maywood
               5600 Old Orchard Rd.                           2121 Euclid                                          1500 Maybrook Ave.
               Skokie, IL 60077                               Rolling Meadows, IL 60008                            Maywood, 1L 60153
               District 5 - Bridgeview                        District 6 - Markham                                 Child Support
               10220 S. 76th Ave.                             16501 S. Kedzie Pkwy.                                28 North Clark St., Room 200
               Bridgeview, IL 60455                           Markham, IL 60428                                    Chicago, Illinois 60602
You must file within 30 days after service of this Summons, not counting the day of service.
IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF
REQUESTED IN THE COMPLAINT.
To the officer:

       This Summons must be returned by the officer or other person to whom. it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed.
This Summons may not be served later than 30 days after its date.

Atty. No.: 56618
                                                                                             WITNE
Name: McGuire Law, P.C.                                                                                  ROT'BciL Ni17 WV
Atty. for: Plaintiff
Address: 55 W. Wacker Drive, 9th Floor                                                                                 1, rk of Court
City/State/Zip: Chicago, IL 60601
                                                                                             Date of service:
Telephone: (312) 893-7002                                                                          (To be inserted by officer on copy left with defendant
                                                                                                    or other person)

Service by Facsimile Transmission will be accepted at:
                                                                                             (Area Code) (Facsimile Telephone Number)

                 DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
             Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 4 of 40 PageID #:12



 Chancery Division Civil Cover Sheet - General Chancery Section                                                                     (Rev. 11/06/13) CCCH 0623

                                       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                           COUNTY DEPARTMENT, CHANCERY DIVISION


 EDWARD KOWALSKI, Individually and on behalf of a class of similarly situated individuals

                                                                              Plaintiff
                                                                                                                     701 7CHI537R
                                                                                                   No.               CALIFNDAR/f.i.
                                                                                                                           _ :n                        oFc
                                                                                                                         ; 17.70:        ; kin)
 AMERICAN AIRLINES, INC., Defendant.                                                                                                       t
                                                                           Defendant

                                                CHANCERY DIVISION CIVIL COVER SHEET
                                                    GENERAL CHANCERY SECTION

         A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all
actions filed in the General Chancery Section of Chancery Division. The information contained herein is for administra-
tive purposes only. Please check the box in front of the appropriate category which best characterizes your action being
filed.
0005 0 Administrative Review
0001 0 Class Action
0002 0 Declaratory Judgment
0004 0 Injunction
          00 000 000 00




pou                                                                                                                                     I
                                                                                            0000 00 00 0

                          General Chancery                                          0019                   Partition
00 10                     Accounting                                                0020                   Quiet Title
0011                      Arbitration                                               0021                   Quo Warranto
0012                      Certiorari                                                0022                   Redemption Rights        .„1
0013                      Dissolution of Corporation                                0023                   Reformation of a ContraW
0014                      Dissolution of Partnership                                0024                   Rescission of a Contract
0015                      Equitable Lien                                            0025                   Specific Performance         74.:."r:;
0016                      lnterpleader                                              0026                   Trust Construction
0017                      Mandamus                                                                         Other (specify)
0018                      Ne Exeat




By: Myles McGuire Esq.                                                             Service via email from the opposing party/counsel will be
                                                                                   accepted at:
01 Atty. No.: 56618                                    0 Pro Se 99500
Name: McGuire Law, P.C.                                                            by consent pursuant to Ill. Sup. Court Rules 11 and 131.

Atty. for: Plaintiff
                                                                                   Pro Se Only: 0 1 have read and agree to the terms of the
Address: 55 W. Wacker Drive, 9th Floor                                             Clerk's Office Electronic Notice Policy and choose to opt
                                                                                   in to electronic notice from the Clerk's office for this case
City/State/Zip Code: Chicago, IL 60601
                                                                                   at this email address:
Telephone: (312) 893-7002




        DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 5 of 40 PageID #:13




                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT, CHANCERY DIVISION

     EDWARD KOWALSKI, individually and )
     on behalf of a class of similarly situated )
     individuals,                               )                                   s
                                                )            No.                LEDR/OOI O5
            Plaintiff;                          )                          'T T M   (1;5
                                                                           in
                                                  )
                                                  )
                                                  )
    AMERICAN AIRLINES, INC., a                    )
    Delaware corporation,                         )
                                                  )                                          ,
                                                                                        7,
            Defendant.                                                              C
                                                  )                                 0        •••••••

                                                  )                                          :17)
                                                                                                        I

                     CLASS ACTION COMPLAINT & JURY DEMAND
                                                                                             --0
        Plaintiff Edward Kowalski ("Plaintiff"), individually and on behalf of _tither similarly
                                                                                              •••••••



situated individuals, brings this Class Action Complaint against Defendant American- Airling; Inc.

("American" or "Defendant"), to stop Defendant's capture, collection, use, and storage of

individuals' biometric identifiers and/or biometric information in violation of the Illinois

Biometric Information Privacy Act, 740 ILCS 14/1, et seq. ("BIPA"), and to obtain redress for all

persons injured by its conduct. Plaintiff alleges as follows based on personal knowledge as to his

own acts and experiences, and as to all other matters, upon information and belief, including an

investigation conducted by his attorneys.

                                       INTRODUCTION

       1.     This case concerns an operator of an international commercial airline capturing,

collecting, storing, and using Plaintiff's and other workers' biometric identifiers and/or biometric

information without regard to BIPA and the concrete privacy rights and pecuniary interests

Illinois' BIPA protects. Defendant does this in the form of finger scans, which capture a person's

fingerprint, and then Defendant uses that fingerprint to identify that same person in the future.
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 6 of 40 PageID #:14




                  Following the 2007 bankruptcy of a company specializing in the collection and use

  of biometric information, which risked the sale or transfer of millions of fingerprint records to the

  highest bidder, the Illinois legislature passed detailed regulations addressing the collection, use

  and retention of biometric information by private entities, such as Defendant.

                 Choosing to shun more traditional timekeeping methods, Defendant has instead

  implemented an invasive program that relies on the capture, collection, storage, and use of its

  workers' fingerprints, while disregarding the applicable lllinois statute and the privacy interests

  it protects.

                 Plaintiff brings this action for damages and other legal and equitable remedies

 resulting from the illegal actions of Defendant in capturing, collecting, storing, and using

 Plaintiff's and other similarly situated individuals' biometric identifiers and biometric information

without informed written consent, in direct violation of the Illinois' BIPA. See 740 ILCS § 14/10.

                 The Illinois Legislature has found that "biometrics are unlike other unique

identifiers that are used to access finances or other sensitive information. For example, even

sensitive information like Social Security numbers, when compromised, can be changed.

Biometrics, however, are biologically unique to each individual and therefore, once compromised,

such individual has no recourse, is at a heightened risk for identity theft in, and is likely to withdraw

from biometric facilitated transactions." 740 ILCS 14/5. A "biometric identifier" is any personal

feature that is unique to an individual and includes fingerprints, facial scans, iris scans, palm scans,

and DNA, among others. "Biometric information" is any information captured, converted, stored,

or shared based on a person's biometric identifier which is used to identify an individual. 740

ILCS § 14/10.




                                                   2
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 7 of 40 PageID #:15




            6.        Additionally, biometrics are no longer quietly relegated to esoteric corners of

  commerce. Today, many businesses and fmancial institutions have incorporated biometric

 applications into their consumer products, including such ubiquitous consumer products as

 checking accounts and cell phones. Moreover, the usage of biometrics has been incorporated into

 the labor and employment side of commerce for timekeeping purposes, as is the case here.

        7.           In recognition of the concern regarding the security of individuals' biometrics, the

 Illinois Legislature enacted BIPA, which provides, inter alia, that private entities, such as

 Defendant, may not obtain and/or possess an individual's biometrics unless they first:

                 inform that person in writing that biometric identifiers or information will be collected

        or stored;

                 inform that person in writing of the specific purpose and the length of term for which

        such biometric identifiers for biometric information is being collected, stored and used;

                 receive a written release from the person for the collection of their biometric identifiers

       or biometric information; and

                 publish a publicly available retention schedule and guidelines for permanently

       destroying biometric identifiers and biometric information.

740 ILCS 14/5.

       8.           In direct violation of the foregoing provisions, Defendant actively captures,

collects, stores, and uses, without obtaining informed written consent or publishing its data

retention and deletion policies, the biometrics of hundreds, if not thousands, of its workers

throughout the state of Illinois whose fingerprints are captured and stored for timekeeping

purposes.




                                                      3
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 8 of 40 PageID #:16




                 The workers' fingerprints are unique to each such worker, and Defendant's capture,

 collection, storage, and use of those biometric identifiers and information violates each workers'

 substantive privacy rights protected under BMA and exposes workers to serious and irreversible

 privacy risks—risks that BIPA was designed to avoid—including the ever-present risk of a data

 breach of Defendant's systems, which could expose its employees' biometrics to hackers and other

 wrongdoers worldwide.

                 Defendant's practice of collecting fingerprints from its workers, regardless of their

 employment history, is unlawful and a serious invasion of its workers' right to privacy concerning

 their biometric information. Defendant has failed to provide the required disclosures to inform its

workers that they were collecting their biometric identifiers and failed to inform them of how long

 it intended to keep this highly sensitive information. To the extent Defendant is still retaining

Plaintiff's and other similarly situated individuals' biometric information, such retention is an

unlawful and continuing infringement of Plaintiff's and the putative Class members' right to

privacy regarding their biometric identifiers and biometric information. Unlike a Social Security

number, which can be changed, no amount of time or money can compensate Plaintiff, and other

similarly situated individuals, if their fingerprints are compromised by the lax procedures through

which Defendant captures, collects, stores and uses its workers' biometrics, and Plaintiff would

not have provided his fingerprint to . Defendant had he known that Defendant would retain such

information for an indefmite period without his consent.

               On behalf of himself and the proposed Class defined below, Plaintiff seeks an

injunction requiring Defendant to destroy the Class member's biometrics in Defendant's

possession, to cease all unlawful activity related to the capture, collection, storage, and use of his




                                                  4
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 9 of 40 PageID #:17




  and other Class member's biometrics, and an award of statutory damages to the Class members,

  together with costs and reasonable attorneys' fees.

                                                PARTIES

                 At all relevant times, Defendant American Airlines, Inc. has been a Delaware

 corporation registered with and authorized by the Illinois Secretary of State to transact business in

 Illinois. Defendant American Airlines, Inc. transacts business in Cook County, Illinois.

                 At all relevant times, Plaintiff has been a resident and citizen of the state of Illinois.

                                   JURISDICTION AND VENUE

                This Court may assert personal jurisdiction over Defendant pursuant to 735 1LCS

 5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States,

 because Defendant is doing business within this state and because Plaintiff's claims arise out of

Defendant's unlawful in-state actions, as Defendant captured, collected, stored, and used

Plaintiff's biometric identifiers and/or biometric information in this state.

                Venue is proper in Cook County pursuant to 735 ILCS 5/2-101, because Defendant

is doing business in Cook County and, thus, resides there under § 2-102.

                                          BACKGROUND

               Illinois enacted BIPA to regulate entities that capture, collect, store, and use

biometric information, such as facial geometry scans, fingerprints, iris scans, and handprints.

               Under the BEPA, private entities may not collect, capture, purchase, receive through

trade, or otherwise obtain a person's biometric identifier or biometric information unless they first:

       (1) Inform the person in writing that a biometric identifier or biometric information is being

       collected;




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   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 10 of 40 PageID #:18




              Inform the person in writing of the specific purpose and length of time for which a

         person's biometric identifier and/or biometric information is being captured, collected,

         stored, and used; and

              Receive a written release executed by the subject of the biometric identifier or biometric

         information providing consent.

 740 ILCS 14/15(b).

        18.       Section 15(a) of the BIPA also requires that a private entity in possession of

 biometric identifiers and/or biometric information develop:

                 A written policy;

                 Available to the public;

                 Which establishes a retention schedule and guidelines for permanently destroying

                 biometric identifiers and biometric information;

                 Within three years of the individual's last interaction with the private entity, or

                 when the initial purpose of for collecting or obtaining biometric identifiers and/or

                 biometric information has been satisfied.

740 ILCS 14/15(a).

        19.      Defendant is a "private entity" as that term is defined under the BIPA. See 740

ILCS 14/10.

       20.       Defendant's workers are expected to scan their fingers to "clock-in" and "clock-

out" of work every day. Defendant does this using biometric timekeeping devices, which capture,

collect, store, and use the workers' fingerprints. These fingerprint scans are distinctive identifiers

of each individual and constitute biometric identifiers and biometric information under BIPA.




                                                   6
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 11 of 40 PageID #:19




                 Unlike ID cards or key codes—which can be changed or replaced if stolen or

  compromised—fingerprints are unique, permanent biometric identifiers associated with the

 individual. Defendant's policies and actions violate workers' substantive privacy rights protected

 under BIPA and expose Plaintiff's and other workers to serious and irreversible privacy risks.

                 The privacy risks associated with a person's biometrics are unparalleled; such

 information is more sensitive than a social security number, a passport, a birth certificate, etc. As

 such, Illinois' BIPA statute requires private entities to provide certain disclosures and obtain a

 written release from individuals prior to collecting their biometric identifiers and/or biometric

 information. Accordingly, BIPA protects an individual's right to be informed with respect to the

 capture, collection, storage, and use of their biometric identifiers, allowing them to make more

 informed decisions as to the circumstances under which they agree to provide their biometric

 identifiers and/or biometric information.

                BIPA mandates that entities, such as Defendant, that engage in the use of biometric

identification systems do so with reasonable safeguards after receiving informed consent to take

such biometric information from an individual.

               Defendant's practice of collecting, capturing, storing, and using an individual's

biometric identifiers and/or biometric information is unlawful under BIPA because such practices

fail to satisfy each of the enumerated requirements described above, and therefore severely infringe

on its workers' right to privacy with regard to their biometric identifiers and biometric information.

                              FACTS SPECIFIC TO PLAINTIFF •

               During the relevant time period, Plaintiff worked as a baggage handler for

Defendant at O'Hare International Airport in Chicago, lllinois.




                                                 7
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 12 of 40 PageID #:20




                 Defendant is a leader in the airline industry, operating a global fleet of aircraft

 making thousands of flights around the world per day.

                 Since managing this facility, Defendant's timekeeping practice has relied on a

 biometric information device which scan workers' fingerprints to "clock-in" and "clock-out" of

 work every day. Plaintiff was required to provide his biometric information as a condition of his

 employment.

                Upon information and belief, Defendant acquired and installed biometric

 timekeeping devices at all of the facilities at which it operates and requires its workers, including

Plaintiff, to have their fingers scanned by these biometric timekeeping devices, which capture,

collect, store, and use worker's fingerprints. Defendant's workers' biometric information is

associated with their identities and used by Defendant to identify and track their work time.

Additionally, Defendant installed this technology and required its workers to use it in order to

eliminate false positive identifications such as "buddy clocking" and other forms of timekeeping

fraud.

               After workers' biometrics are captured and collected by Defendant, Defendant

requires such workers to, scan their fingers into one of Defendant's biometric timekeeping devices

at a minimum each time they "clock-in" and "clock-out." Defendant's system ensures that workers

can only verify their attendance and timeliness through scanning such information.

               In addition to the occasion when workers' fingerprints are initially captured, on

each occasion that Defendant's workers in Illinois scan a finger through Defendant's biometric

timekeeping devices, Defendant is capturing and using workers' biometrics without regard to

lllinois' statutory requirements under BIPA.




                                                 8
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 13 of 40 PageID #:21




                 Prior to obtaining Plaintiff's biometric identifiers and/or information, Defendant

  did not inform Plaintiff in writing that a biometric identifier or biometric information was being

  captured, collected, stored, or used, nor did Defendant make its policy about collection, retention,

 and use of such information publicly available as required by BIPA.

                 Prior to taking Plaintiff's biometric identifiers and/or information Defendant did

 not make a vvritten policy available to its workers or to the public establishing a retention schedule

 and guidelines for permanently destroying the biometric identifiers and biometric information that

 it collects, as required by BIPA. 740 ILCS 14/15(a).

                Additionally, Defendant did not obtain consent for any transmission to third parties

 of Plaintiff's and its other employees' biometrics. To the extent Defendant utilizes out of state

 vendors to operate its biometrics program in conformance with biometric industry practice,

 Defendant has also violated BIPA on each occasion it transmits such information to such third

parties.

                To this day, Plaintiff is unaware of the status of his biometric information that was

obtained by Defendant. Defendant has not informed Plaintiff whether it still retains his biometric

information, and if it does, for how long it intends to retain such information without his consent.

Plaintiff's biometric information is economically valuable and such value will increase as the

commercialization of biometrics continues to grow. As such, Plaintiff was not sufficiently

compensated by Defendant for the retention of his biometric information and Plaintiff would not

have agreed to work for Defendant, at least not for the compensation he received, had he known

that Defendant would retain his biometric information indefinitely..

               Upon information and belief, Defendant does not have a policy of informing its

workers in any way what happens to their biometric information after it is captured, collected, and



                                                 9
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 14 of 40 PageID #:22




 obtained, whether the information is transmitted to a third party and, if so, which third party, and

 what would happen to the information if an individual discontinues working for Defendant, if a

 facility were to close, or if Defendant were to be acquired, sold, or file for bankruptcy.

                By knowingly and willfully failing to comply with the BIPA's mandatory notice,

 release, and policy publication requirements, Defendant has violated workers' substantive privacy

rights protected under the BIPA, and as a result, Plaintiff and the other members of the Class have

continuously been exposed to substantial and irreversible loss of privacy by Defendant's retention

of their biometric information without their consent, with such constant and ongoing exposure

constituting a severe harm and violation of their rights.

                                         CLASS ALLEGATIONS

                Plaintiff brings this action on behalf of himself and similarly situated individuals

pursuant to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class (the "Class") defined as

follows:

               All individuals whose biometrics were captured, collected, obtained, stored or
               used by Defendant within the state of Illinois any time within the applicable
               limitations period.

               Excluded from the Class are any members of the judiciary assigned to preside over

this matter, any officer or director of Defendant, and any immediate family member of such officer

or director.

               Upon information and belief, there are hundreds, if not thousands, of members of

the Class, making the members of the Class so numerous that joinder of all members is

impracticable. Although the exact number of members of the Class is currently unknown to

Plaintiff, the members can easily be ascertained through Defendant's personnel records.




                                                 10
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 15 of 40 PageID #:23




                   Plaintiff's claims are typical of the claims of the Class members he seeks to

 represent because the factual and legal bases of Defendant's liability to Plaintiff and the other

 Class members is the same and because Defendant's conduct has resulted in similar injuries to

 Plaintiff and to the Class. As alleged herein, Plaintiff and the other putative Class members have

 all suffered damages as a result of Defendant's BIPA violations.

                  There are many questions of law and fact common to the claims of Plaintiff and the

 other Class members, and those questions predominate over any questions that may affect

 individual members of the Class. Common questions for the Class include, but are not limited to,

 the following:

                  Whether Defendant collects, captures, stores, or uses the biometrics of Class

members;

                  Whether Defendant developed and made available to the public a written policy

that establishes a retention schedule and guidelines for permanently destroying biometric

identifiers and information as required by BIPA;

                  Whether Defendant obtained a written release from Class members before

capturing, collecting, or otherwise obtaining workers' biometrics;

                  Whether Defendant provided a written disclosure to its workers that explains the

specific purposes, and the length of time, for which their biometrics were being collected, stored

and used before taking their biometrics;

                  Whether Defendant's conduct violates BIPA;

                  Whether Defendant's violations of BIPA are willful and reckless; and

                  Whether Plaintiff and the Class members are entitled to damages and injunctive

relief.



                                                 11
    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 16 of 40 PageID #:24




                  Absent a class action, most members of the Class would find the cost of litigating

their claims to be prohibitively expensive, and would have no effective remedy. The class

 treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

                  Plaintiff Will fairly and adequately represent and protect the interests of the other

members of the Class he seeks to represent. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class and

have the financial resources to do so. Neither Plaintiff nor his counsel have any interest adverse

to those of the other members of the Class.

                  Defendant has acted and failed to act on grounds generally applicable to the

Plaintiff and the other members of the Class, requiring the Court's imposition of uniform relief to

ensure compatible standards of conduct toward the members of the Class and making injunctive

or corresponding declaratory relief appropriate for the Class as a whole.

                                                 COUNT I
          Violation of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.,
                                   (on behalf of Plaintiff and the Class)

                 Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

                 Illinois' BIPA requires private entities, such as Defendant, to obtain informed

written consent from individuals before acquiring their biometric information. Specifically, BIPA

makes it unlawful to "collect, capture, purchase, receive through trade, or otherwise obtain a

person's or customer's biometric identifiers or biometric information unless [the entity] first: (1)


                                                  12
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 17 of 40 PageID #:25




 informs the subject. . . in writing that a biometric identifier or biometric information is being

 collected or stored; (2) informs the subject . . . in writing of the specific purpose and length of for

 which a biometric identifier or biometric information is being captured, collected, stored, and used;

 and (3) receives a written release executed by the subject of the biometric identifier or biometric

 information . . . ." 740 ILCS 14/15(b).

                Illinois' BIPA also requires that private entities in possession of biometric

identifiers and/or biometric information establish and maintain a publicly available retention

policy. Entities which possess biometric identifiers or information must (i) make publicly

available a written policy establishing a retention schedule and guidelines for permanent deletion

of biometric information (entities may not retain biometric information longer than three years

after the last interaction with the individual); and (ii) must adhere to the publicly posted retention

and deletion schedule. 740 ILCS 14/15(a).

                Defendant is a "private entity" as that term is defined under BIPA. 740 ILCS 14/10.

               Plaintiff and the other Class members have had their "biometric identifiers,"

namely their fingerprints, collected, captured, received or otherwise obtained by Defendant.

Plaintiff and the other Class members' biometric identifiers were also used to identify them, and

therefore constitute "biometric information" as defined by BIPA. 740 ILCS 14/10.

               Each instance Plaintiff and the other Class members scanned their fingers into

Defendant's timekeeping devices, Defendant captured, collected, stored, and/or used Plaintiff's

and the Class members' biometric identifiers or biometric information without valid consent and

without complying with and, thus, in violation of BIPA.

               Defendant's practice with respect to capturing, collecting, storing, and using

biometric identifiers and biometric information fails to comply with applicable BIPA



                                                 13
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 18 of 40 PageID #:26




 requirements. Specifically, with respect to Plaintiff and the other Class members, Defendant failed

 to:

                  Obtain the written release required by 740 ILCS 14/15(b)(3);

                 Inform Plaintiff and the Class members in writing that their biometric identifiers

 and/or biometric information were being captured, collected, stored, and used, as required by 740

 ILCS 14/15(b)(I);

                 Inform Plaintiff and the Class members in writing of the specific purpose for which

their biometric information and/or biometric identifiers were being captured, collected, stored, and

used, as required by 740 ILCS 14/15(b)(2);

                 Inform Plaintiff and the Class members in writing of the specific length of term

their biometric information and/or biometric identifiers were being captured, collected, stored and

used, as required by 740 ILCS 14/15(b)(2); and

                 Provide a publicly available retention schedule detailing the length of time

biometric information is stored and guidelines for permanently destroying the biometric

information it stores, as required by 740 ILCS 14/15(a).

                 By capturing, collecting, storing, and using Plaintiff's and the other Class members'

biometric identifiers arid/or biometric information as described herein, Defendant violated

Plaintiff's and the other Class members' respective right to Privacy as set forth in the BIPA. 740

ILCS 14/15(a).

              BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of the BIPA and, alternatively, damages of $1,000 for each negligent violation of the

BIPA. 740 ILCS 14/20(1).




                                                 14
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 19 of 40 PageID #:27




         54.    Defendant's violations of the BIPA, as set forth herein, were knowing and willful,

 or were in reckless disregard of the statutory requirements. Alternatively, Defendant negligently

 failed to comply with the BIPA disclosure, consent, and policy posting requirements.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the proposed Class, respectfully

 requests that this Court enter an Order:

                Certifying the Class as defmed above, appointing Plaintiff as class representative

and the undersigned as class counsel;

                Declaring that Defendant's actions, as set forth herein, violate the BIPA;

                Awarding injunctive and equitable relief as necessary to protect the interests of

Plaintiff and the Class by requiring Defendant to comply with the BIPA requirements for the

capture, collection, storage, and use of biometric identifiers and biometric information, including

an injunction requiring Defendant to permanently destroy all biometric information of Plaintiff

and of Class members in its possession and compensation in an amount to be determined at trial

for the commercial value of Plaintiff's biometric information;

               Awarding statutory damages of $5,000 for each willful and/or reckless violation of

the BIPA, pursuant to 740 ILCS 14/20(1);

               Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

pursuant to 740 IL-CS 14/20(3);

               Awarding reasonable attorneys' fees, costs, and other litigation expenses pursuant

to 740 ILCS 14/20(3);

               Awarding pre- and post-judgment interest, as allowable by law; and

               Awarding such further and other relief as the Court deems just and equitable.



                                                15
   Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 20 of 40 PageID #:28




                                               JURY DEMAND

        Plaintiff requests trial by jury of all claims that can be so tried.



 Dated: November 17, 2017                        Respectfully Submitted,

                                                 EDWARD KOWALSKI, individually and on behalf
                                                 of a Class of similarly situated individuals




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Evan M. Meyers
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Attorneys for Plaintiff and the Putative Class




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Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 21 of 40 PageID #:29

                                                                         Service of Process
                                                                         Transmittal
                                                                         11/20/2017
                                                                         CT Log Number 532337734
TO:     Lisa Magdaleno
        American Airlines Group Inc.
        4333 Amon Carter Blvd, MD-5675
        Fort Worth, TX 76155-2664

RE:     Process Served in Delaware

FOR:    American Airlines, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  EDWARD KOWALSKI, individually and on behalf of a class of similarly situated
                                  individuals, Pltf. vs. AMERICAN AIRLINES, INC., etc., Dft.
DOCUMENT(S) SERVED:               Notice, Certificate, Motion, Memorandum, Declaration
COURT/AGENCY:                     Cook County Circuit Court - County Department - Chancery Division, IL
                                  Case # 2017CH15328
NATURE OF ACTION:                 Notice of Plaintiff's Motion for Class Certification or, Alternatively, for a Deferred
                                  Class Certification Ruling Pending Discovery
ON WHOM PROCESS WAS SERVED:       The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:         By Courier on 11/20/2017
JURISDICTION SERVED :             Delaware
APPEARANCE OR ANSWER DUE:         03/19/2018 at 9:30 a.m.
ATTORNEY(S) / SENDER(S):          McGuire Law, P.C.
                                  55 W. Wacker Dr., 9th Fl.
                                  Chicago, IL 60601
                                  312-893-7002
ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1Z0399EX0132039945

                                  Image SOP

                                  Email Notification, Townley Teso townley.teso@aa.com

                                  Email Notification, Lisa Magdaleno lisa.magdaleno@aa.com

SIGNED:                           The Corporation Trust Company
ADDRESS:                          1209 N Orange St
                                  Wilmington, DE 19801-1120
TELEPHONE:                        302-658-7581




                                                                         Page 1 of 1 / VR
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
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  Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 23 of 40 PageID #:31




              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                  COUNTY DEPARTMENT, CHANCERY DIVISION

  EDWARD KOWALSKI, individually
  and on behalf of a class of similarly
  situated individuals,
                                                         No.          :701    57,76
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                                                                      TIME on:on
                                                                                Act ion
                         V.                              Hon.
                                                                      tot;
 AMERICAN AIRLINES, INC., a
 Delaware corporation,

         Defendant.


                                 NOTICE OF MOTION

To:

       On    INktAft.kr- \,1\ , 2018 at °I :30    or as soon thereafter as counsel may be

heard, I shall appear before the Honorable 1\k„A                    or any Judge sitting in

that Judge's stead, in courtroom')-1,0%     , located at the Richard J. Daley Center, 50 W.

Washington St., Chicago, Illinois 60602, and present Plaintiff s Motion for rT;lass
                                                                             —I
Certification or, Alternatively, for a Deferred Class Certification 1?uling Paling

Discovery.


Name:          McGuire Law, P.C.                            Attorney for: Pl#intiff-- cen'
Address:       55 W. Wacker Dr., 9th Fl.                    City:         Chicago, IL
60601
Telephone:     (312) 893-7002                               Firm ID.:      56618




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fil   "41.,
              Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 24 of 40 PageID #:32




                                            CERTIFICATE OF SERVICE

                      The undersigned, an attorney, hereby certifies that on November 17, 2017, a copy of

              Plaintiff's Motion for Class Certification or, Alternatively, for a Deferred Class Certification

              Ruling Pending Discovery and Notice of Motion was sent to Defendant's Registered Agent

              by way of first class mail by depositing the same in a United States Mailbox.




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 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 25 of 40 PageID #:33




            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                COUNTY DEPARTMENT, CHANCERY DIVISION

 EDWARD KOWALSKI, individually and on )
 behalf of a class of similarly situated )
 individuals,                            )
                                         )               No.                    7 r: H I   F. : R
         Plaintiff;                      )                            rAl
                                         )                            i                    =
                                                                      r2,                  ..--   •.;    z.es,
                           V.            )               Hon.               ;




 AMERICAN AIRLINES, INC., a Delaware )
                                         )                            fdeA                     COL-
 corporation,                            )
                                         )
         Defendant.                      )
                                         )


            PLAINTIFF'S MOTION FOR CLASS CERTIFICATION
                 OR, ALTERNATIVELY, FOR A DEFERRED
           CLASS CERTIFICATION RULING PENDING DISCOVERY

       Plaintiff, Edward Kowalski, by and through his undersigned counsel, and pursuaTA
                                                                                                        CD

to 735 ILCS 5/2-801, hereby moves for entry of an order certifying the Class propose.st

below, appointing Plaintiff as Class Representative, and appointing Plaintiff's attorneys

Class Counsel. Alternatively, Plaintiff requests, to the extent the Court determmes furtheis
                                                                                     ,or

evidence is necessary to satisfy any element of 735 ILCS 5/2-801, that the Court defer

consideration of this Motion pending a reasonable period to complete discovery. See, e.g.,

Ballard RN Center, Inc. v. Kohll's Pharmacy & Homecare, Inc., 2015 IL 118644, at im 42-

43 (citing Damasco v. Clearwire Corp., 662 F.3d 891 (7th Cir. 2011)). In support of his

Motion, Plaintiff submits the following Memorandum of Law.




                                           -1-
Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 26 of 40 PageID #:34




Dated: November 17, 2017                     Respectfully submitted,

                                            EDWARD KOWALSKI, individually and
                                            on behalf of a class of similarly situated
                                            individuals

                                            By:
                                            One of Plaintiffs Atlorneys

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Attorneys for Plaintiff and the Proposed Class




                                          -2-
     Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 27 of 40 PageID #:35




            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S
        MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY, FOR
      A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

          This Court should certify a class of Illinois workers whose biometric identifiers and

biometric information was captured, collected, stored, and used by Defendant American

Airlines, Inc. ("American" or "Defendant"). Defendant, an operator of a major

international commercial airline, has violated Illinois law by capturing, collecting, storing

and using its workers' biometrics without obtaining proper consent, and by failing to

provide workers with a retention schedule explaining how long such biometric information

and biometric identifiers are used and stored and when they will be destroyed. After

Plaintiff learned of Defendant's wrongful conduct, he brought suit on behalf of a class of

similarly situated individuals to put a stop to Defendant's capture, collection, storage and

use of biometric identifiers and/or biometric information in violation of the Illinois

Biometric Information Privacy Act, 740 ILCS 14/1, et seq. ("BIPA"), and to obtain redress

for all persons injured by its conduct.

I.       INTRODUCTION: THE ILLINOIS BIPA

         The Illinois Biometric Information Protection Act, or BIPA, is designed to protect

individuals' personal biometric information. Under BIPA, biometric identifiers include

retina or iris scans, fingerprints, voiceprints, and scans of hand or face geometry; while

biometric information can be defined as the manipulation of biometric identifiers into

usable, storable data. (Complaint, "Compl.," If 5.) In recognition of the importance of the

security of individuals' biometrics, the Illinois Legislature enacted BIPA, which provides,

inter alia, that private entities, such as Defendant, may not obtain and/or possess an

individual's biometrics unless they: (1) inform that person in writing that biometric




                                             -3-
  Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 28 of 40 PageID #:36




 identifiers or information will be captured, collected, stored, or used; (2) inform that person

 in writing of the specific purpose and the length of term for which such biometric identifiers

 or biometric information is being captured, collected, stored, and used; (3) received a

 written release from the person for the collection of his or her biometric identifiers and/or

 information; and (4) publish publicly and make available a written retention schedule and

guidelines for permanently destroying biometric identifiers and biometric information. 740

ILCS 14/5.

             FACTUAL BACKGROUND

        A.      The Underlying Misconduct.

        Defendant employs hundreds, if not thousands, of people within the state of Illinois.

During the relevant period, Defendant implemented a biometric timekeeping system to

monitor the hours worked by its employees. Defendant acquired and installed several

biometric timekeeping devices at its facilities and required its workers, including Plaintiff,

to scan their fingers, uploading the information into Defendant's biometric timekeeping

devices, which captured, stored, and used said finger scans. (Compl., ¶ 28.) All workers

were expected to provide at least one finger to the Defendant to scan into its biometric

timekeeping system. Defendant and/or its agents, through its biometric timekeeping

devices, then captured, stored and used workers' finger scans and associated biometric

information to monitor the hours they worked. (Compl., 11120, 29.)

       However, Defendant failed to obtain informed consent from its workers prior to

capturing and collecting their biometric information and similarly failed to provide workers

and the public with a retention schedule and deletion policies which detailed how and when

Defendant would retain and then destroy its workers' biometric information and/or




                                             -4-
  Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 29 of 40 PageID #:37




biometric identifiers. (Compl. ¶ 31-33.) On information and belief, Defendant does not

have a policy of informing its workers in any way what happens to their biometric

information after it is collected and obtained, whether the information is transmitted to a

third party and, if so, which third party, and what would happen to the data and information

if an individual discontinues working for Defendant, if a facility were to close, or if

Defendant were to be acquired, sold, or file for bankruptcy. (Comp1.1 35.) Despite its

timekeeping practices requiring workers to enter their biometric identifiers, Defendant

failed to comply with the BIPA's statutory requirements regarding collection of biometric

identifiers and biometric information.

       B.      The Proposed Class.

       Plaintiff brings this action on behalf of himself and a Class of similarly situated

individuals (the "Class"), defined as follows:

               All individuals whose biometrics were captured, collected, obtained,
               stored or used by Defendant within the state of Illinois any time within the
               applicable limitations period.

(Compl. ¶ 37.) As explained below, the proposed Class satisfies each of the four

requirements for certification under Section 2-801 of the Illinois Code of Civil Procedure—

numerosity, commonality, adequacy of representation, and fair and efficient adjudication.

A class action is not just appropriate here, it is also the only way that the members of the

putative Class can obtain appropriate redress for Defendant's unlawful conduct.

III. ARGUMENT

       A.      Standards for Class Certification.

       To obtain class certification, it is not necessary for a plaintiff to establish that she

will prevail on the merits of the action. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178




                                            -5-
  Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 30 of 40 PageID #:38




 (1974) ("[T]he question is not whether the plaintiff or plaintiffs have stated a cause of

 action or will prevail on the merits, but rather whether the requirements of Rule 23 are

 met." (internal quotation marks and citations omitted)). As such, in determining whether

to certify a proposed class, the Court should accept the allegations of the complaint as true.

 Ramirez v. Midway Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (1st Dist. 2007).

        To proceed with a class action, the movant must satisfy the "prerequisites for the

maintenance of a class action" set forth in Section 2-801 of the Illinois Code of Civil

Procedure, which provides:

        An action may be maintained as a class action in any court of this State and
        a party may sue or be sued as a representative party of the class only if the
        court finds:

               The class is so numerous that joinder of all members is
               impracticable.
               'there are questions of fact or law common to the class,
               which common questions predominate over any questions
               affecting only individual members.
               The representative parties will fairly and adequately protect
               the interest of the class.
               The class action is an appropriate method for the fair and
               efficient adjudication of the controversy.

735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Class,

and the Court should therefore certify the proposed Class.

        Section 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and

"federal decisions interpreting Rule 23 are persuasive authority with regard to questions of

class certification in Illinois." Avery v. State Farm Mut Auto. Ins. Co., 216 Ill. 2d 100, 125

(2005). Circuit courts have broad discretion in determining whether a proposed class meets

the requirement for class certification and ought to err in favor of maintaining class

certification. Ramirez, 378 Ill. App. 3d at 53. While a court may rule on class certification




                                            -6-
 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 31 of 40 PageID #:39




without requiring further discovery, see Manual for Complex Litigation (Fourth) § 21.14,

at 255 (2004), courts have found that discovery is helpful prior to addressing a motion for

class certification. See, e.g., Ballard RN Center, Inc. v. Kohl! 's Pharmacy & Homecare,

Inc., 2015 IL 118644, at ¶ 42 ("If the parties have yet to fully develop the facts needed for

certification, then they can also ask the district court to delay its ruling to provide time for

additional discovery or investigation") (quoting Damasco v. Clearwire Corp., 662 F.3d

891, 896 (7th Cir. 2011)).

        All the prerequisites for class certification are satisfied here, even though Plaintiff

has not yet had an opportunity to engage in and complete discovery. However, in the

interests of establishing a more fully developed record before ruling on class certification

issues, the Court should defer ruling on this Motion pending the completion of discovery

and submission of supplemental briefing.

        B.      The Requirement of Numerosity Is Satisfied.

        The first step in certifying a class is a showing that "the class is so numerous that

joinder of all members is impracticable." 735 ILCS 5/2-801(1). This requirement is met

when "join[ing] such a large number of plaintiffs in a single suit would render the suit

unmanageable and, in contrast, multiple separate claims would be an imposition on the

litigants and the courts." Gordon v. Boden, 586 N.E.2d 461, 464 (Ill. App. Ct. 1991) (citing

Steinberg v. Chicago Med. Sch., 371 N.E.2d 634, 642-43 (Ill. 1977)). To satisfy this

requirement a plaintiff need not demonstrate the exact number of class members, but must

offer a good faith estimate as to the size of the class. Smith v. Nike Retail Servs., Inc., 234

F.R.D. 648, 659 (N.D. Ill. 2006).

       Plaintiff alleges that there are hundreds, if not thousands, of members of the Class.
 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 32 of 40 PageID #:40




(Compl., ¶ 39). Because definitive evidence of numerosity can only come from the records

of Defendant and its agents, it is proper to rely upon the allegations of the Complaint in

certifying the Class. See 2 A. Conte & H. Newberg, Newberg on Class Actions § 7.20, at

66 (stating that where numerosity information is in the sole possession of the party

opposing the class, courts generally rely on the complaint as prima facie evidence or defer

ruling). In this case, the allegations of the Complaint, in addition to common sense based

on Defendant's significant presence in Illinois and its lack of biometric retention policies,

adequately demonstrate the numerosity of the proposed Class. See Hinman v. M & M

Rental Center, Inc., 545 F. Supp. 2d 802, 806 (N.D. Ill. 2008) (the court "may

make common sense assumptions in determining numerosity"). Defendant operates a

major commercial airline flying out of two airports in Cook County, Illinois, employing

hundreds, if not thousands, of individuals. As such, the number of Class members is most

certainly an amount that more than satisfies the numerosity requirement. See Kulins v.

Malco, A Microdot Co., Inc., 459 N.E.2d 1038, 1046 (Ill. App. Ct. 1984) (finding that, in

Cook County, 30 class members is sufficient to satisfy numerosity); Carrao v. Health Care

Serv. Corp., 454 N.E.2d 781, 789 (Ill. App. Ct. 1983) (allegation in the complaint of

hundreds and possibly thousands of class members clearly support a finding that joinder

would be impracticable).

       Additionally, the members of the putative Class can be easily and objectively

identified from Defendant's employment records once they are produced. Furthermore, it

would be completely impracticable to join the claims of the members of the Class, because

they are disbursed throughout Illinois, and because absent a class action, few members

could afford to bring an individual lawsuit. See Gordon, 586 N.E.2d at 464. Accordingly,




                                            -8-
 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 33 of 40 PageID #:41




 the first prerequisite for class certification is met.

         C.      Common Questions of Law and Fact Predominate.

         The second requirement of Section 2-801(2) is met where there are "questions of

 fact or law common to the class" and those questions "predominate over any questions

 affecting only individual members." 735 ILCS 5/2-801(2). Such common questions of law

 or fact exist when the members of the proposed class have been aggrieved by the same or

 similar misconduct. See Miner v. Gillette Co., 428 N.E.2d 478, 483 (Ill. 1981); Steinberg,

371 N.E.2d at 644-45. These common questions must also predominate over any issues

affecting individual class members. See 0-Kay Shoes, Inc. v. Rosewell, 472 N.E.2d 883,

885-86 (Ill. App. Ct. 1984).

        While common issues must predominate, they "need not be exclusive." Maxwell v.

Arrow Fin. Servs., LLC, No. 03-cv-1995, 2004 WL 719278, at *5 N.D. Ill. Mar. 31, 2004);

Pleasant v. Risk Mgmt. Alternatives, Inc., No. 02-cv-6886, 2003 WL 22175390, at *5 (N.D.

Ill. Sept. 19, 2003) (certifying class where "the central factual inquiry will be common to

all" the class members); Kremnitzer v. Cabrera & Rephen, P.C., 202 F.R.D. 239, 242 (N.D.

Ill. 2001) (finding predominance met where liability is predicated on the same legal theory

and the same alleged misconduct). Class certification is proper even if there may be some

possibility that "separate proceedings of some character will be required to determine the

entitlements of the individual class members to relief" Carnegie v. Household Int? Inc.,

376 F.3d 656, 661 (7th Cir. 2004).

       Here, the claims of the Class members arise out of the same activity by Defendant,

are based on the same legal theory, and implicate, among others, the following common

issues: whether Defendant collects, captures, stores or uses the biometrics of Class




                                              -9-
 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 34 of 40 PageID #:42




members; whether Defendant developed and made available to the public a written policy

which establishes a retention schedule and guidelines for permanently destroying biometric

identifiers and information as required by BIPA; whether Defendant obtained a written

release from Class members before capturing, collecting, or otherwise obtaining workers'

biometrics; whether Defendant provided a written disclosure to its workers that explains

the specific purposes, and the length of time, for which their biometrics were being

captured, collected, stored, and used before taking their biometrics; whether Defendant's

conduct violates BIPA; whether Defendant' violations of the BIPA are willful and reckless;

and whether Plaintiff and the Class members are entitled to damages and injunctive relief.

(Compl. ¶ 41.)

        As alleged, and as will be shown through obtainable evidence, Defendant engaged

in a common course of conduct by collecting, capturing, storing and/or or using the

biometric identifiers and/or biometric information of Class members without retaining a

written release and without providing a retention schedule to them or to the public. Any

potential individualized issues remaining after common issues are decided would be de

minimis. Accordingly, common issues of fact and law predominate over any individual

issues, and Plaintiff has satisfied this hurdle to certification.

       D.       Adequate Representation.

       The third prong of Section 2-801 requires that "Wile representative parties will

fairly and adequately protect the interest of the class." 735 ILCS 5/2-801(3). The class

representative's interests must be generally aligned with those of the class members, and

class counsel must be "qualified, experienced and generally able to conduct the proposed

litigation." See Miner, 428 N.E.2d at 482; see also Eshaghi v. Hanley Dawson Cadillac




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 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 35 of 40 PageID #:43




Co., Inc., 574 N.E.2d 760, 763 (Ill. App. Ct. 1991). The purpose of this adequacy of

representation requirement is "to ensure that all Class members will receive proper,

efficient, and appropriate protection of their interests in the presentation of the claim."

Purcell & Wardrope Chtd. v. Hertz Corp., 530 N.E.2d 994, 1000 (Ill. App. Ct. 1988);

Gordon, 586 N.E.2d at 466.

        In this case, Plaintiff has the same interests as the members of the proposed Class.

Plaintiff and all members of the Class have had their biometric information taken by

Defendant without being informed in advance and in writing that such information was

being taken, without giving proper consent to Defendant, and without a publicly-available

retention schedule and destruction policy made available by Defendant. Additionally, this

information was likely given by Defendant to a third party without the knowledge of

Plaintiff or any other members of the Class. Plaintiff's pursuit of this matter demonstrates

that he will be a zealous advocate for the Class. Further, proposed class counsel have

regularly engaged in major complex and class action litigation, and have extensive

experience in consumer class action lawsuits. (See Declaration of Myles McGuire, attached

hereto, ¶ 5). Further, Plaintiff's counsel have been appointed as class counsel in several

complex class actions. (Id.) Accordingly, the proposed class representative and proposed

class counsel will adequately protect the interests of the members of the Class, thus

satisfying Section 2-801(3).

       E.      Fair and Efficient Adjudication of the Controversy.

       The final requirement for class certification under 5/2-801 is met where "the class

action is an appropriate method for the fair and efficient adjudication of the controversy."

735 ILCS 5/2-801(4). "In applying this prerequisite, a court considers whether a class
 Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 36 of 40 PageID #:44




action: (1) can best secure the economies of time, effort and expense, and promote

uniformity; or (2) accomplish the other ends of equity and justice that class actions seek to

obtain." Gordon, 586 N.E.2d at 467. In practice, a "holding that the first three prerequisites

of section 2-801 are established makes it evident that the fourth requirement is fulfilled."

Gordon, 586 N.E.2d at 467; Purcell & Wardrope Chtd, 530 N.E.2d at 1001 ("the

predominance of common issues [may] make a class action. . . a fair and efficient method

to resolve the dispute."). Because numerosity, commonality and predominance, and

adequacy of representation have been satisfied in the instant case, it is "evident" that the

appropriateness requirement is met as well.

        Other considerations further support certification in this case. A "controlling factor

in many cases is that the class action is the only practical means for class members to

receive redress." Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 ("In a large and

impersonal society, class actions are often the last barricade of...protection."). A class

action is superior to multiple individual actions "where the costs of litigation are high, the

likely recovery is limited" and individuals are unlikely to prosecute individual claims

absent the cost-sharing efficiencies of a class action. Maxwell, 2004 WL 719278, at *6.

This is especially true in cases involving BIPA, which can involve significant injury to the

those effected, but result in many small, individual claims. Here, absent a class action, most

members of the Class would find the cost of litigating their statutorily-limited claims to be

prohibitive, and multiple individual actions would be judicially inefficient. Id

       Certification of the proposed Class is necessary to ensure that Defendant's conduct

becomes compliant with BIPA, to ensure that the Class members' privacy in their

biometrics is sufficiently protected, and to compensate those individuals who have had
roa   •    Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 37 of 40 PageID #:45




           their statutorily-protected privacy rights violated and who have not been informed as to the

           status of their own biometric information. Were this case not to proceed on a class-wide

           basis, it is unlikely that any significant number of Class members would be able to obtain

           redress, or that Defendant would willingly implement the procedures necessary to honor

          the requirements of the statute. Thus, proceeding as a class action here is an appropriate

          method to fairly and efficiently adjudicate the controversy.

          IV.         CONCLUSION

                  For the reasons set forth above, the requirements of 735 ILCS 5/2-801 are satisfied.

          Plaintiff respectfully requests that the Court enter an Order certifying the proposed Class,

          appointing Plaintiff as Class Representative, appointing McGuire Law, P.C. as Class

          Counsel, and awarding such additional relief as the Court deems reasonable. Alternatively,

          the Court should defer ruling on this Motion pending the completion of appropriate

          discovery and supplemental briefing.

          Dated: November 17, 2017                      Respectfully submitted,

                                                        EDWARD KOWALSKI, individually and
                                                        on behalf of a class of similarly situated
                                                        individuals

                                                        By:
                                                        One of Plaintiffs Attorneys
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          Evan M. Meyers
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C.
           Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 38 of 40 PageID #:46




                      IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                          COUNTY DEPARTMENT, CHANCERY DIVISION

         EDWARD KOWALSKI, individually and )
         on behalf of a class of similarly situated )
         individuals,                                                              72,0 I "7C 1-1 1 5 32 8
                                                    )                                ALE N DF.:JROOiM 05
                                                    )               No.            TIME O0(X)
                Plaintiff;                          )                                 1-as s      c ‘3. n
                                                    )
                                 v.                 )
                                                    )
                                                                    Hon.
                                                                                  be..k      R       OLW
         AMERICAN AIRLINES, INC., a                 )
         Delaware corporation,                      )
                                                    )
                Defendant.                          )
                                                    )


                                DECLARATION OF MYLES MCGUIRE

             I, Myles McGuire, hereby aver, pursuant to 735 ILCS 5/1-109, that I have personal

     knowledge of all matters set forth herein unless otherwise indicated, and would testify thereto if

     called as a witness in this matter.

                     I am an adult over the age of 18 and a resident of the state of Illinois. 5-2
                                                                                 F  •      CD
                     I am fully competent to make this Declaration and I do so in support ofzPlaintiff s

     Motion for Class Certification or, Alternatively, for a Deferred Class Certification Ruling Pending
                                                                                      •
     Discovery.                                                                    .0

                    I am managing partner of the law firm McGuire Law, P.C. I am licensed to practice

     law in the State of Illinois, and I am one of the attorneys representing the Plaintiff in this matter.

                    McGuire Law, P.C. is a litigation firm based in Chicago, Illinois that focuses on

     class action litigation, representing clients in both state and federal trial and appellate courts

     throughout the country.
      Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 39 of 40 PageID #:47




        5.     The attorneys of McGuire Law, P.C. have regularly engaged in complex litigation

on behalf of consumers and have extensive experience prosecuting class action lawsuits similar in

size and complexity to the instant case. I and/or attorneys at my firm have served as class counsel

in numerous complex consumer class actions. See, e.g., Shen et al v. Distributive Networks, Inc.

(N.D. Ill. 2007); McFerren et al v. AT&T Mobility, LLC (Sup. Ct. Fulton County, Ga. 2008); Gray

et al v. Mobile Messenger Americas, Inc. et al., (S.D. Fla. 2008); Gresham et al v. Keppler &

Associates, LLC et al., (Sup. Ct. Los Angeles County, Cal. 2008); Weinstein et al v. The

Timberland Co., et al. (N.D. III. 2008); Sims et al v. Cellco Partnership et al., (N.D. Cal. 2009);

Van Dyke et al v. Media Breakaway, LLC et al., (S.D. Fla. 2009); Paluzzi, et al. v. mBlox, Inc., et

al., (Cir. Ct. Cook County, Ill. 2009); Valdez et al v. Sprint Nextel Corporation (N.D. Cal. 2009);

Parone et al v. m-Qube, Inc. et al., (Cir. Ct. Cook County, Ill. 2010); Satterfield et al v. Simon &

Schuster (N.D. Cal. 2010); Espinal et al v. Burger King Corporation et al., (S.D. Fla. 2010);

Lozano v. Twentieth Century Fox, (N.D. Ill. 2011); Williams eta! v. Motricity, Inc. et al., (Cir. Ct.

Cook County, Ill. 2011); Walker et al v. OpenMarket, Inc. etal., (Cir. Ct. Cook County, Ill. 2011);

Schulken at al v. Washington Mutual Bank, et al., (N.D. Cal. 2011); In re Citibank HELOC

Reduction Litigation (N.D. Cal 2012); Kramer eta! v. Autobytel et al., (N.D. Cal. 2011); Rojas et

al v. Career Education Co. (N.D. Ill. 2012); Ellison eta! v. Steven Madden, Ltd (C.D. Cal. 2013);

Robles eta! v. Lucky Brand Dungarees, Inc. et al., (N.D. Cal. 2013); Pimental eta! v. Google, Inc.

et al., (N.D. Cal. 2013); In re Jiffi) Lube Spam Text Litigation (S.D. Cal. 2013); Lee et al v.

Stonebridge Life Ins. Co. etal., (N.D. Cal. 2013); Gomez et al v. Campbell-Ewald Co. (C.D. Cal.

2014); Murray et al. v. Bill Me Later, Inc., 12-cv-4789 (N.D. Ill. 2014); Valladares et al v.

Blackboard, Inc. (Cir. Ct. Cook County, Ill. 2016); Hooker et al. v. Sirius ./131 Radio, Inc. (E.D.

Va. 2016); Seal et al. v. RCN Telecom Services, LLC, (Cir. Ct. Cook County, Ill. 2017);
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         Case: 1:17-cv-09080 Document #: 1-1 Filed: 12/18/17 Page 40 of 40 PageID #:48




    Manouchehri, et al. v. Styles for Less, Inc., et al., (S.D. Cal. 2017); Vergara et al. v. Uber

    Technologies, Inc. (N.D. III. 2017); Flahive eta! v. Inventurus Knowledge Solutions, Inc. (dr. Ct.

    Cook County 2017).

                   I am a graduate of Marquette University Law School. I have been practicing law

    since 2000 and have been admitted to practice in the Illinois Supreme Court and in several federal

    courts throughout the country, including the U.S. District Court for the Northern District of Illinois

    and the U.S. Supreme Court.

                   McGuire Law, P.C. has diligently investigated the facts and claims in this matter

    and will continue to diligently investigate and prosecute this matter. McGuire Law, P.C. has also

    dedicated substantial resources to this matter and will continue to do so. McGuire Law, P.C. has

    the financial resources necessary to fully prosecute this action through trial and to provide the

    necessary and appropriate notice to the class members should this proposed class be certified.



           I declare under penalty of perjury that the foregoing is true and correct.


    Executed on November 17, 2017 in Chicago, Illinois.




                                                    yles IV1èGuire
